558 F.2d 976
    96 L.R.R.M. (BNA) 2143, 82 Lab.Cas.  P 10,095
    SAN FRANCISCO SHIRT WORKS, INC., Petitioner,v.NATIONAL LABOR RELATIONS BOARD, Respondent.San Francisco Joint Board, International Ladies' GarmentWorkers' Union, AFL-CIO, Intervenor.
    No. 75-2929.
    United States Court of Appeals,Ninth Circuit.
    Aug. 10, 1977.Rehearing and Rehearing En Banc Denied Sept. 20, 1977.
    
      Nathan R. Berke, Robert V. Magor, Severson, Werson, Berke &amp; Melchior, Brundage, Neyhart, Beeson &amp; Tayer, San Francisco, Cal., argued for petitioner.
      Margery Lieber, Elliott Moore, N. L. R. B., Washington, D. C., argued for respondent.
      John L. Anderson, Neyhart &amp; Anderson, San Francisco, Cal., argued for intervenor.
      On Petition for Review of Decision and Order of The National Labor Relations Board.
      Before KILKENNY and ANDERSON, Circuit Judges, and SCHWARZER, District Judge.*
      PER CURIAM:
    
    
      1
      The petitioner has petitioned for review of a decision of the National Labor Relations Board dismissing General Counsel's complaint in its entirety.
    
    
      2
      Shirt Works, a jobber (contractor) in the garment industry, filed a charge with the NLRB claiming that San Francisco Joint Board, International Ladies' Garment Workers' Union, AFL-CIO (Union) had violated Section 8(b)(7)(C) of the National Labor Relations Act (29 U.S.C. § 158(b)(7)(C)).  The union intervened.
    
    
      3
      The petition for review challenges, in substance, the legality of the union's picketing a garment industry jobber to require that jobber to use only union subcontractors when a few of the jobber's employees perform similar work as its subcontractor's employees.  The administrative law judge (whose opinion was adopted by the Board), found that picketing under the peculiar circumstances of the case did not violate Section 8(b)(7)(C) of the Act and dismissed the complaint in its entirety.  This petition for review follows.
    
    
      4
      Our analysis of the entire record convinces us that the decision adopted by the Board correctly interprets the law and properly applies it to the facts.  San Francisco Joint Board, International Ladies' Garment Workers' Union, AFL-CIO, and San Francisco Shirt Works, Inc., Case No. C-CP-530, June 25, 1975, 218 NLRB No. 33, 89 LRRM 1550.  We specifically agree with and emphasize the finding of the Board that the amount of production work performed by the company's employees was de minimis.
    
    
      5
      Neither Connell Construction Co. v. Plumbers &amp; Steamfitters Local 100, 421 U.S. 616, 95 S.Ct. 1830, 44 L.Ed.2d 418 (1975), nor Lane-Coos-Curry-Douglas Counties Bldg. &amp; Construction Trades Council v. NLRB, 415 F.2d 656 (CA9 1969), or cases cited by petitioner, lessen or, in any way, erode the logic of the Board's decision.
    
    
      6
      The petition for review is denied and the order of the Board dismissing the complaint is upheld.
    
    
      
        *
         The Honorable William W. Schwarzer, United States District Judge for the Northern District of California, sitting by designation
      
    
    